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IN THE UNITED sTATEs DISTRICT coURT FM@W?Y.%Q;_&C.
FOR THE wEsTERN DISTRICT oF TENNESSEE
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ASAD EL-AMIN MUJIHADEEN' 6

Plaintiff,
vs. No. 03-2044-D/An

TENNESSEE BOARD OF PROBATION
AND PAROLES, et al.,

Defendants.

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ORDER 'I‘O SHOW CAUSE

 

On March 24, 2005, the Court issued an order granting in
part and denying in part defendants' motion to dismiss. Pursuant to
Fed. R. Civ. P. 4(a)(4)(A), defendants' answer to the Complaint was
due within ten (10) days after defendants’ receipt of that order.
The defendants’ copies of the March 24, 2005 order have not been
returned by the post office and, therefore, it can be assumed that
they have been received. Accordingly, the defendants are ORDERED,
within eleven (11) days of the date of entry of this order, why the

Clerk should not be ordered to enter a default pursuant to Fed. R.

 
 
 

" ' '1 dcz»:ument entered on the docket
van dues 58 and/or 79 (a) FF|CP on

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Civ. P. 55(a) . 'I'he parties are CAUTIONED that late-filed answers
will not be accepted without a showing of good cause within the

meaning of Fed. R. Civ. P. 55(€).

IT IS SO ORDERED this Q_I£ day of August, 2005.

Q§; anda

BEHNICE B. DONALD ’
UNITED sTATES DISTRICT JUDGE

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 95 in
case 2:03-CV-02044 Was distributed by faX, mail, or direct printing on
August 25, 2005 to the parties listed.

 

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Honorable Bernice Donald
US DISTRICT COURT

